               Case 8:19-bk-04221-MGW        Doc 8    Filed 06/18/19     Page 1 of 6




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


In re:

KATHERINE M. ERISMAN,                                 Case No.: 19-04221
AKA KATHERINE M. WOESTMAN,                            Chapter: 7

         Debtor.                                 /

              NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER’S VERIFIED
                    MOTION FOR RELIEF FROM AUTOMATIC STAY


         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

        Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party in interest files a response within 21
days from the date set forth on the proof of service, plus an additional three days for
service if any party was served by U.S. Mail.
        If you object to the relief requested in this paper, you must file your response with
the Clerk of the Court at 801 N. Florida Avenue, Suite 555, Tampa, Florida 33602 and
serve a copy on the movant’s attorney, McCalla Raymer Leibert Pierce, LLC, 110 S.E. 6th
Street, Suite 2400, Ft. Lauderdale, FL 33301, and any other appropriate persons within the
time allowed. If you file and serve a response within the time permitted, the Court may
schedule and notify you of a hearing, or the Court may consider the response and may
grant or deny the relief requested without a hearing.
        If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.


Nationstar Mortgage LLC d/b/a Mr. Cooper (the “Secured Creditor”), its successors and/or

assigns, as a secured creditor of the bankruptcy estate of Katherine M. Erisman (the “Debtor”),

seeks relief from the automatic stay pursuant to 11 U.S.C. § 362(d), and in support thereof, states

as follows:

         1.      Debtor's Bankruptcy Case.    On May 03, 2019, the Debtor filed the above-

captioned Chapter 7 bankruptcy case.
            Case 8:19-bk-04221-MGW             Doc 8     Filed 06/18/19    Page 2 of 6



       2.         Jurisdiction. Jurisdiction of this matter is properly before this Court pursuant to

28 U.S.C. § 1334 and Rule 4001(a) of the Federal Rules of Bankruptcy Procedure.

       3.         Right to Foreclose. Attached are redacted copies of any documents that support

the claim, such as promissory notes, purchase order, invoices, itemized statements of running

accounts, contracts, judgments, mortgages, and security agreements in support of right to seek a

lift of the automatic stay and foreclose if necessary.

       4.         The Note and Mortgage. On October 21, 2005, the Debtor executed and delivered

a note with non-filing party, Katherine Woestman (the “Note”) in the principal amount of

$219,900.00, which is secured by a mortgage (the “Mortgage”). The Mortgage was executed by

Katherine M. Erisman and Gregory Erisman. The Mortgage is recorded in Official Records

Book 15740 at Page 1788-1800 with an Instrument Number 2005521540, of the Public Records

of Hillsborough County, Florida. A copy of the Mortgage, together with the Note, and any

applicable Assignments, are attached hereto as Exhibit A, B and C.

       5.         Collateral. Secured Creditor is entitled to enforce the Note and Mortgage, which

are secured by the real property (the “Property”) located at 4713 West Coachman Ave, Tampa,

Florida 33611 and further described as follows:

Lot 29, Block 3, Guernsey Estates Addition, according to map or plat thereof as recorded in Plat
Book 34, Page 61 of the Public Records of Hillsborough County, Florida.

       6.         Secured Creditor’s Claim. The Debtor owes Secured Creditor an outstanding

principal balance of $176,915.16, plus applicable interest, penalties, fees and costs, and has

defaulted by failing to make the payment due on February 1, 2018, and all subsequent payments

due thereafter.

       7.         Relief Requested. Secured Creditor requests the entry of an order modifying the

automatic stay pursuant to 11 U.S.C. § 362(d) to permit Secured Creditor to enforce all of its in
             Case 8:19-bk-04221-MGW            Doc 8     Filed 06/18/19     Page 3 of 6



rem remedies against the Property pursuant to the Note and Mortgage. The requested relief

should be granted for the following reasons:

                Secured Creditor’s interest is not being adequately protected as the loan is due for
                 the February 1, 2018 payment and all subsequent payments due thereafter.

                The Debtor's Statement of Intention indicates the Property is being surrendered;

                Since the instant case is a Chapter 7 bankruptcy, the Property is not
                 necessary to an effective reorganization;

                The Property is not claimed as exempt on Schedule C and the Debtor
                 intend to surrender the Property.

                Interest continues to accrue; and

                Property taxes continue to accrue.

       8.        Loss Mitigation. Secured Creditor requests it be permitted to contact the Debtor

regarding potential loss mitigation options pursuant to applicable non-bankruptcy law, including

loan modifications, deeds in lieu of foreclosure, short sales and/or any other potential loan

workouts or loss mitigation agreements.

       9.        Request for Attorney’s Fees and Costs. Secured Creditor requests attorney’s fees

in the amount of $450.00 and costs of $181.00, as a result of filing the instant motion.

       10.       Request for Waiver of 14-Day Stay of Relief. Secured Creditor requests that the

14 day stay, pursuant to Fed. R. Bankr. P. 4001(a)(3), be waived.



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            Case 8:19-bk-04221-MGW           Doc 8     Filed 06/18/19       Page 4 of 6




       Wherefore, Secured Creditor requests the entry of an order modifying the automatic stay

and for such other and further relief as the Court deems just and proper.


                                                     McCalla Raymer Leibert Pierce, LLC

                                          By:        /s/ Melbalynn Fisher
                                                     Melbalynn Fisher
                                                     Florida Bar No. 107698
                                                     Attorney for Creditor
                                                     110 S.E. 6th Street, Suite 2400
                                                     Ft. Lauderdale, Florida 33301
                                                     Phone: 954-526-5846
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Case 8:19-bk-04221-MGW   Doc 8   Filed 06/18/19   Page 5 of 6
           Case 8:19-bk-04221-MGW        Doc 8   Filed 06/18/19       Page 6 of 6



                             CERTIFICATE OF SERVICE


                                   June 18, 2019
      I HEREBY CERTIFY that on _____________________, a true and correct copy of the

foregoing was served by U.S. Mail, First Class to Katherine M. Erisman, 6309 South Clark

Avenue, Tampa, FL 33616; and those parties receiving CM/ECF service

   Peter D Carratt
   Douglas N Menchise
   United States Trustee


                                         By:       /s/ Melbalynn Fisher
                                                   Melbalynn Fisher
